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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



MELITA WILLOUGHBY                                           CIVIL ACTION NO.
                                                            3:14CV608 (XH)
                      PLAINTIFF

V.

YALE UNIVERSITY

                      DEFENDANT
                                                            JULY 21,2015

                            AFFIDAVIT OF DANIEL KILLEN

       I, Daniel Killen, being duly sworn, depose and say that:

       1.     I am over the age of eighteen years and believe in the obligation of an oath.

       2.      I make this affidavit of my own personal knowledge and in support of Yale

University's motion to dismiss.

       3.      I am employed by Yale University as the Director of Security Operations.

       4.      I was the Director of Security Operations during the time that Melita

Willoughby was employed by Yale University as a Security Officer.

        5.     A true and accurate copy of the December 6, 2010 letter terminating Melita

Willoughby's employment is attached hereto as Exhibit A.

        6.     A true and accurate copy of the September 25, 2010 e-mail from Paul

Gallipoli to Daniel Killen, Francisco Ortiz, and Rick Maffei is attached hereto as Exhibit B.
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       7.      A true and accurate copy of the October 1, 2010 e-mail from Thomas Helland

to Richard Nucci, Paul Gallipoli, Daniel Killen, and Francisco Ortiz is attached hereto as

Exhibit C.

       8.      A true and accurate copy of the October 6, 2010 e-mail from Richard Nucci to

Daniel Killen, Francisco Ortiz, and Kristen Albis is attached hereto as Exhibit D.

       9.      A true and accurate copy of the October 29, 2010 e-mail from Paul Gallipoli

to Kristen Albis and Richard Nucci is attached hereto as Exhibit E.

       10.     A true and accurate copy of the December 7, 2010 e-mail from Richard Nucci

to Daniel Killen is attached hereto as Exhibit F.

       11.     A true and accurate copy of the November 9, 2010 30 Day Employee

Performance Review is attached hereto as Exhibit G.

       12.     A true and accurate copy of the November 11, 2010 letter from Richard Nucci

to Melita Willoughby is attached hereto as Exhibit H.

       13.     A true and accurate copy of the November 20, 2010 e-mail from Paul

Gallipoli to Francisco Ortiz, Daniel Killen, and Kristen Albis is attached hereto as Exhibit I.

       14.     A true and accurate copy of the November 30, 2010 e-mail from Paul

Gallipoli to Daniel Killen and Kristen Albis is attached hereto as Exhibit J.
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Dated at New Haven, Connecticut this       th day of July, 2015.




STATE OF CONNECTICUT
                                   ) ss. New Haven
COUNTY OF NEW HAVEN



       Subscribed and sworn to before me this       th day of July, 2015.




                                                  Notary Public Mary E. Evans
                                                                  Notary Public
                                                               State of Connecticut
                                                              My Commission Expires
                                                                  May 31, MO ,
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                                     DEFENDANT
                                     YALE UNIVERSITY



                                               Is/
                             By:               ct18777
                                 BROCK T. DUBIN (ctl 8777)
                                 COLLEEN NOONAN DAVIS (ct27773)
                                 DONAHUE, DURHAM & NOONAN, P.C.
                                 Concept Park, Suite 306
                                 741 Boston Post Road
                                 Guilford, CT 06437
                                 Telephone: (203) 458-9168
                                 Fax: (203) 458-4424
                                 Email: bdubin@ddnctlaw.com
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                                   CERTIFICATION

       I hereby certify that on                , 2015, a copy of the foregoing Affidavit of

Daniel Killen was filed electronically and served by mail on anyone unable to accept

electronic mail. Notice of this filing was sent by email to all parties by operation of the

Court's electronic filing system or by mail to anyone unable to accept electronic filing as

indicated in the Notice of Electronic Filing. Parties may access this filing through the

Court's CM/ECF System.




                                                  BROCK T. DUBIN
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                 EXHIBIT A
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  Yale University                                                            University &curio, Programs
                                                                             R.D. Box 208006
                                                                             Quad
                                                                             too Church St South
                                                                             New Haven, Connecticut



                                                                             Telephone: .2034364393



December 6, 2010


M-elita Willoughby
466 Carrington Road
Bethany, CT 06524



Dear Melita:

 am, by this letter, notifying you that your employment with Yale University during your probationary period is
terminated, effective today, December 6, 2010. This decision was made based on the evaluation of your
performance as Security Officer I.

You will be paid through today. Your health and dental insurance will continue through the end of January 2011.
You may..continue your health insurance benefits through direct payment to the Benefits Office through a
COBRA plan. Materialstonceming this option will be mailed to you or you may call the Benefits Office at 432-
5550. We will mail your final check along with your unemployment compensation slip to your home address.

Please contact your Human Resources Generalist, Kristen Albis, at 436-5308 if you have any questions.



Sincerely,




       co Ortiz
D rector, Security Officer Operations
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 From: Gallipoli, Paul
 Sent: Saturday, September 25, 2010 4:37 AM
 To: Killen, Daniel; Ortiz, Francisco; Maffei, Rick
 Subject: Transit Complaint

  On Friday 9-24-10 at approx 23151irs Melita Willoughby while driving transit, was in the process of making a
'pick up for a passenger from the school of nursing. I pulled alongside of her car as she wanted to ask me a •
 question. A student who was being picked up and on the manifestas a flag stop who's name was Aseseh Fern
  Net ID# AF332. Started to approach the vehicle. Melita asked her for her name. The student started to tell
  Melita thatshe was not the original passenger but was another rider who called Into Transit for a ride and
  transit °kit) For her to join the other rider. Malita stated in front of me in a rather rude and unprofessional
  manner using unpleasant hand movements that she knows how to read her manifeit and told the passenger to
  have a seat in the vehicle. I had planned to discuss this with Melita, but did not feel It was appropriate as the
  passengers were present. I received a call on my cell phone from Aseseh stating that she wanted to make a
  complaint against the driver for being so rude. She stated she has used the transit system for years and has
  never had an experience like that befoie. Asseseh said she also tried to ask melita if she was having a bad day
 as she was having one also which maybe did not sit well with 'Manta. She also said they were trying to help her
 with directions as she missed the street as well as not wanting to drop her in front of her address , but rather
  down the street and that also did not go over well. She said she did not want to be picked up by Mellta ever
  again when requesting a ride. I told Aseseh that as I was net in the vehicle for the ride home to her destination,
  but I had to agree that Malita's conduct that I observed at her pick up location was not acceptable. Old
  explain that Melita was new to the position and was performing a high call volume, but that was still did not
  warrant her conduct. I told her I would speak to Melita and address the Issue. I obtained Aseseh's phone
  number 206-724-7795 In case on needed to contact her again. Aseseh was sorry to have to report this to me
  but was satisfied I would resolve the issue. I told her to please continue to use the transit system as It is a great
 service. I again apologized to her for the bad experience. I spoke to Mailta at shifts end as not to distract her
  from driving for the rest of the evening. I explained the situation as told by Aseseh and stated that what I
 observed at the pick up location was her being very rude to the passenger. Melita stated how stressful and
 overwhelming driving is on very busy nights. She stated that she did not realize she was acting In that manner
  and it was a combination of the busy night and having to wait to use the restroom as call volume was high. She
 disagreed with not wanting to drop them at their door step and thetas far as the passengers giving directions,
  they wanted her to make a u-turn In the middle of the road, which Melita refused to do, Melita stated she was
 going tb talk to Francisco regarding driving.1 told her all of us have open door policies and she should feel free
  to speak to him. Melita then left for the evening. I received a call from Melita about 20 minutes laterwith
  mellta stating that she thought about the situation and should not have been so abrupt when talking to the
  passengers and that was not like her to act that way. She also stated that passengers who call in complaints
 should tell the whole story when complaining (like wanting her to take a u-turn). She thanked me for waiting
  until shifts end to talk to her as she was upset at the whole situation.

 Please advise on how to proceed as this is the 1st complaint I have dealt with.------PG


 Paul Gallipoli
 Security Supervisor
 Yale University
 100 Church Street South
 New Haven, CT 06520
 Work 203-737-1470
 Cell 203-675-8598
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                  EXHIBIT C
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    Original Message--
From: HeHand, Thomas
Sent: Friday, Octobeii 01, 2010 1:55 PM
To: NuccE, Richard; Gallipoli, Paul
Cc: Killen, Daniel; Ortiz, Francisco
Subject: RE: Willoughby Probation

I received a phone call Saturday nite roughly 2115.hours from transit dispatch McCormick. He said he was sorry
but this was his first chance to call me. The 7pm driver had not shown up for work. I immediately called M.
Willoughby via cell and asked her if she was working Wilke. She said she was In car 6 outside of PWG awaiting her
first call of the night. I asked her if transit dispatch knew she was here and she said she called in on the radio
although they never responded to her. She then stammered saying she would call them now and get her rides in
order. I relayed this Information to Paul at shift change. Paul shared another experience with M. Willoughby as
well.
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 Albis, Kristen

 From:                       Nucci, Richard
 Sent:                       Wednesday, October 05, 2010 7:01 PM
 To:                         Killen, Daniel; Ortiz, Francisco
 Cc:                         Albis, Kristen
 Subject:                    Mate Willoughby Counseling

 Importance:                 High
 Sensitivity:                Confidential


 Dan/Cisco,

  On Thursday, September 30th, 1 received an irate telephone call from Melita Willoughby regarding a Transit vehicle not be-
  located at 100 Church Street South, She was very rude over the telephone and I explained to her that due to our Current
  vehicle situation, a ear may not always be located at 100 Church Street and she should travel to 79 Howe Street to find a
  vehicle. This was at 7:00pm and she stated "now I have to fight the traffic to come all the way over there." I pulled her
  aside a few hours later to discuss her conduct, During this counseling session, I reiterated the vehicle situation Is not
  always ideal for the department due to our having less vehicles now. She was also not pleased with the fact that I was
  making vehicles available (unless they were needed for Transit) to Med. School Patrol and Cross Campus Bike personnel
  on nights where Inclement weather was an issue or in other cases where the use of a vehicle was more practical, I
, informed her 1 didn't require her consent to make operational decisions and Car #15 was at 79 Howe unassigned and
  waiting for her.

 During our conversation, she continuously stated "I'm just going to wait until my 90 days are up before blowing the lid on •
 this place" and she cited prior conflicts with supervisors and other security officers, in particular Peter Leonardo and Bill
 Hewitt. She claims both individuals were previously assigned by the leads" to post check her, She has a great deal of
 resentment for both individuals and even went so far as to claim Pete Leonardo was "Into Nazi-practices." She claimed a
 friend of hers also had a complaint regarding an encounter with. Pete recently. I asked her to have the friend contact
 either me or Dan Mien and we would take appropriate action based upon facts and specific details.

 On Friday, October 1. Melita returned to work and asked to speak with me. I agreed and she proceeded to inform me
 that She (at the request of her husband) would like to "forget all about last Aight." She then proceeded to complain about
 Peter Leonardo and bring up prior issues that I could neither confirm or deny had occurred. As with the prior night,
 asked her to let go of past occurrences' and focus on the future and her new position. I also reminded her that she was
 in a probationary period, we would be writing a performance evaluation on her conduct soon and her behavior was
 inappropriate. She then requested that I "forget these conversations occurred." I informed her I could not do so, that she
 should focus on her own performance and not become consumed with the actions of her peers. I also informed her I
 would act upon any inappropriate actions exhibited by either her or other officers. At that point she stated her personal
 vehicle was in jeopardy parking at Howe Street because Peter Leonardo "has trashed people's cars' in the past. Again, I
 have no evidence to substantiate this statement. She also stated Cisco Ortiz, Danny Killen and our supervisors (including
 myself) are running a 'good old boys club." When I challenged her on this allegation and asked for specifics, she stated"!
 didn't mean you' but offered no evidence or facts to support her statement. Melita also stated she decided not involve her
 friend and the complaint against Pete that she brought to my attention the prior night I informed her, since this friend
 would not come forward, that I was considering the matter closed. •

Tom Reiland forwarded over the following. I was also informed by Transit Dispatcher Paul Sarno that Mellita had a
"confrontation" with Transit Dispatcher Manny Rivera (no other details were provided). In addition, Tom indicated Paul
Gallipoli and he experienced an issue involving Melita and a student.

Tom Heliand Narrative: / received a phone call Saturday nite roughly 2115 hours from transit dispatch McCormick. He
said he was sorry but this was his first chance to call me. The 7pm driver had not shown up for work I immediately
called M. Willoughby via cell and asked her if she was working tonight. She said she was in car 6 outside of PWG
awaiting her first cal/ of the night. tasked her!! transit dispatch knew she was hare and she said she called In on the
radio although they never responded to her. She then stammered saying she would call them now and get her rides In
order. I relayed* this Information to Paul at shift change. Paul shared another experience with g Willoughby as well.

 Tonight, Wednesday October 6th, I noted obvious conflict between Melita and Pete during the 6:00pm Roll Call. This
 occurred after Pete said "hello' to her and she replied "now you are saying hello to me. What brought this on?" Pete
                                                              1
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stated he "liked to be consistent' and Melite infOrmed him she liked Inconsistency." At that point I asked the entire room
for silence since the roll call was beginning.

I spoke with Kristin tonight and we are going to meet with Melita on Thursday prior to her shift start up. I will inform Motile
this evening.

Regards,

Rich

Richard Nucci, CPP
Supervisor - Guard Operations
Yale University Security
Office: 203-436-9145
Cellular: 203-627-0547




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Albis;Kristen
From:                        Gallipoli, Paul
Sent:                        Friday, October 29, 2010 10:14 PM
To:                                Kristen
Cc:                          Nucci, Richard
Subject:                     Melita Willoughby


Just an FYI

Kristen\ Rich
Just want to update you both on a brief conversation I had with Melita on Oct 23, 2010 (Fri or Sat). On this night while
walking in front on Davenport college I was stopped by Melita Willoughby who was making a transit pick up near that
location. I said hello to her and she immediately started to engage me in conversation. Melita stated that she is upset
with transit dispatchers but especially Manny Rivera in transit dispatch. Melita told me she was going right to
Management with her dissatisfaction on how the dispatchers treat her. Melita took out her cell phone and showed me a
snapshot of her Nur Dispatch device with a picture of an address number for a pick up location that she was given as a
call on a previous night. Melita stated that the address she was traveling to hit* the pick up did not exist and that Manny
punched in the address number of (the address numbers were closely related- like # 15 instead of # 155 ) and sent her
to a false location. Melita sounded like she believed the dispatch was trying to make her late for pick-ups. I told her that
the address numbers were probably just punched in the MOTwrong as the it was obvious the numbers were so'closely
related. I expressed that it is very busy in transit and things like this sometimes happen. Melita stated she was going to
management to let them know what was going on. l am writing this to inform you that most contacts with Melita are
negative on her part and she seems to think that things are being done ptirposefully to make her fail. I do not think this
is the case as, I monitor the transit dispatch radio at night and though the conversation is some time rushed and brief,
this is due to the call volume on the weekends and is not done with negative intentions. I believe Melita has adjusted
pretty well to the driving portion of Transit but her constant negative attitude is starting to become monotonous.

Paul Gallipoli
Security Supervisor
Yale University
100 Church Street South
New Haveri, CT 06520
Work 203-737-1470
Cell 203-675-8598




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From: Nucci, Richard
Sent: Tuesday, December 07, 2010 8:27 PM
Tin Killen, Daniel
Subject: Mena Willoughby Comments - October 29th

Dan,

Following a counseling session that Kristen Albis and I held with Melita Willoughby on October 2e,1 was conducting post
checks of Residential College Officers later that evening. At that tinie, Melite engaged me in a conversation on York
Street in front of Saybrook College. She remained upset over Pate Leonardo, despite our earlier discussion with Human
Resources. While we were talking, students had grown loud and boisterous inside Saybrook College. The windows were
open and we could clearly hear the sounds of partying and singing occurring.

At that point, a man approached us from Davenport College and crossed York Street to engage us in conversation. He
inqUired as to whether there were student partying inside of Saybrook College and complained they were loud. Melita
responded to him by stating the students were singing and "who are you?" In a confrontational tone. He responded that
he had two small children that he was trying to get to sleep and pointed to a room across the street in Davenport
College. He then went on to state that he was the Dean of Davenport College. At that point, I intervened since the.
conversation had become awkward. I went on to introduce myself and stated we would handle the student in Saybrook.

I contacted Saybrook Officer Greg Teel afterwards and asked him to Investigate and address as needed.

Regards,

Rich


Richard Nucci, CPP
Supervisor - Guard Operations
Yale University Security
Office: 203-436-9146
Mobile: 203-627-0547
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                  EXHIBIT G
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Memo
     To:          Daniel Killen

     From:        Richard Nucci

     Date:        November 9, 2010

     Re:          Melita Willoughby -30 Day Employee Performance Review



 As of October 11th, Melita Willoughby reached the 30 day milestone as a Residential
- College Officer and Transit Driver. Since beginning herProbationary period at Yale, she
 has been involved in several negative situations that have adversely impacted her
 performance.

These situations involve an ongoing conflict with fellow Officer Peter Leonardo, an
altercation with a student, conflicts with Dispatcher Manuel Rivera, inappropriate behavior
towards her supervisors and a two hour time frame where she could not be located while
on duty. These issues have resulted in direct supervisor to employee counseling
sessions as well as two formal meetings with myself and Human Resources Generalist
Kristen Albis. A formal letter was also drafted and mailed to Melita reiterating the
discussions and outlining clear expectations for her moving forward.

Based on the above mentioned concerns (noted in greater detail under separate and prior
correspondence), at this time I would rate Melita's performance as "Less-than-Effective."
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  Yale University                                                 University Securiy Programs
                                                                  P.O. BOX 205006
                                                                  Qyart
                                                                  loo Churdt St South
                                                                  New Haven, Connecticut



                                                                  Telephone: 2034364393




To:            Melita Willoughby
From:          Richard Nucci, Supervisor, Guard Operations
Date:          11/11/2010
Subject:       Follow-up to our Meeting on Friday, October 29th

As a follow-up to our meeting on Friday, October 29th, I am advising you that Kristen Alb's and I
met with Security Officer Peter Leonardo to address the concerns you expressed during our
meeting.

My expectations for both you and Officer Leonardo moving forward are as follows:

   •   You must treat one another with mutual respect and professionalism at all times. You
       must refrain from allowing personal feelings to interfere with work responsibilities.

   •   You must completely refrain from speaking negatively about one another, with any of
       your fellow coworkers or other employees at Yale.

   •   Future allegations of misconduct will be investigated and if neccessary, disciplinary
       action may occur.

As you agreed, you must focus on your performance to ensure your success as a Security
Officer at Yale.

If you have any questions regarding my expectations moving forward, please let me know.
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                   EXHIBIT I
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   Prone: Gallipoli, Paul
   Sent: Saturday, November 20, 2010 4:06 AM
   To: Ortiz, Francisco; Killen, Daniel; Aibis, Kristen
   -


. Subject Transit Complaint--Melita Willoughby

   On 11/19/2010 at 11:49hrsl, Paul Gallipoli received a call from the central Alarm station stating they had to
   transfer a call to me on my cell phone. The call was transferred to me and I spoke to a Mr. Major Nelson. Major
   stated that he was driving down York Street when a Security vehicle which was driving on the wrong side of
   the road cut him off. He stated that the driver was ferriale and the partial plate If was 72?-M??. I told Mr.
   Nelson I would look into his complaint and asked for a call back number In case I needed to contact him
   regarding the issue (203-415-9531). I thanked him for the call and apologized for his negative experience
   regarding the Incident. I then called transit and inquired about who had a pick up or drop off In the area during
   the past 15 minutes. Iwas told by transit, that Melita Willoughby had a pick up at 35 York street at Approx.
   11:32 hrs and that she was driving Vehicle if 20.1 looked up the Plateit for vehicle #20 and the numbers are as
   follows 723-M36. This is the only transit that has the digits 72 at the beginning of the plate # and an M in the
   same location as stated in the partial plate given by Mr. Nelson. I asked Melita to meet me at 79 Howe at
   approx. 0115 hrs. I stated to Mellta that I received a transit complaint and that t was not accusing her of
   anything, But wanted to ask her if she recalled anything occurring near that location. Melita stated that it did
   occur. She stated that she had 2 passengers In the vehicle and had to turn left near York and George street.
   She statedthat she pointed to the driver in the truck signaling him that she needed to get over one lane.
   Melita stated that the male driver looked directly at her and she believed that he-acknowledged her that It was
   ok to proceed left in front of him. Melita said she proceed forward to pull In front of the vehicle, a black SIN
   and the male driver speed up. The male driver then gave her the middle finger several times and followed her -
   a short distance before turning in a different direction. Mellta states that both her passengers can verify her
   account of what happened.Ithanked.Melita for her time and ended the-conversation.

   The passengers in Melita'i vehicle were Holly Piccoll (203-278-6161) and Daniel Okin (917-670-3297). I was
   able to have Transit dispatch look up the passengers names. Duel° how late In the evening It was, I did not
   make contact with the passengers. If needed, I would ask that someone on AR make contact to verify the
   Incident.

       I have also attached the original call into the Central Alarm Station, before it was transferred to my cell
       phene. See Attachment.

       Note: Supervisor Lod Ricks also sat In on the Meeting.

   Thank You----PG


   Paul Gallipoli
   Security Supervisor
   Yale University
   100 Church Street South.
   New Haven, CT 06520
   Work 203-737-1470
   Cell 203-675-8598




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                   EXHIBIT J
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 From: Gallipoli„.Paut
Sent: Tuesday, November 30, 2010 '12:50 PM
To: Killen, Daniel
     Albis, Kristen
Subject: Willoughby Transit Complaint follow-up
     •
On 11\30\2010 at 12:30pm, I received a call from Major Nelson. Major is the Individual who filed the
complaint against Mate Willoughby. I asked Major to call me regarding the incident to inquire whether
Melita attempted to signal or motion to him in regards to moving over from her lane and proceeding In
front of his vehicle. Major stated to me that the driver did not signal in any way to indicate that she Was
trying to move over into the lane he was traveling M. I thanked Major for contacting me to answer the
question-and the call was ended.

Thanks---PG

Paul Gallipoli
Security Supervisor
Yale University
100 Church Street South
New Haven, CT 06520
Work 203-737-1470
Cell 203-675-8598
